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  6
  7                           UNITED STATES BANKRUPTCY COURT
  8                           SOUTHERN DISTRICT OF CALIFORNIA
  9
 10   In re                                  )       ADVERSARY NO. 21-90002-LA
                                             )
 11   CUKER INTERACTIVE, LLC,                )
                                             )
 12                                          )       DECLARATION OF DEBORAH WOLFE
                   Debtor.                   )       IN OPPOSITION TO MOTION BY ADEL
 13                                          )       ATALLA FOR ORDER THAT PROPOSED
                                             )       DISCOVERY IS NOT AUTHORIZED OR
 14   Bankruptcy Case No. 18-07363-LA11      )       TERMINATING OR LIMITING
      __________________________________     )       DEPOSITION
 15                                          )
                                             )
 16   CUKER INTERACTIVE, LLC,                )
                                             )       Date: April 21, 2022
 17                 Plaintiff,               )       Time: 2:00 p.m.
      v.                                     )       Dept: Two
 18                                          )       Honorable Louise DeCarl Adler
      WOLFE LEGAL GROUP, PC,                 )
 19                                          )
                   Defendant.                )
 20                                          )
                                             )
 21   ______________________________________ )
 22
 23
 24
 25
 26   ///
 27   ///
 28   ///
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